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EXHIBIT D

46429/0001-7520103v1
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: vhapler 1 |
TRIBUNE COMPANY, et al,,' Case No. (8-13141 (KIC)
Dehtors. . Jointly Admimistered -

STIPULATION BETWEEN DEBTORS AND
FAIR HARBOR CAPITAL, LLC CONCERNING VOTES ON
DEBT P ORG TI
The debtors and debtors-in-posscssion in the above-captioned chapter 11 cases {the
*Debtors”) and Fair Harbor Capital, LLC (EHC”), respectfnlly submit this Stipulation ((he

Stipulation") concerning the change of votes cast hy FHC on the Second Amended foint Plan

' The Debtors in ehete chaptsr 11 cases, along with ta Jest fone digits of cach Debtos’s fcderal tax identiicauion number, aro: Tribune Company
(0355); 425 Peodection Contaay (2845). 5800 Sunsed Prodectinns Inc. (5310). Balinese Mewapaper Neraneks, Ino. (8258): Cal Fora iy :
Comrmonnity Never Corporsting 33306); Candle Hollings Corporation ($828); Channel 20. fac. 473991, Clianael 34, Inc, (7254): Chane! 40, Ine.
(3444): Chicagn Avenue Conmcuctian Company (1636); Chicago River Prodactina Company (5454), Chicago Trtfune Company (3437):
Chicago Th band Newspapers, tie, (421, Chicago Trittied Pitss Service, inc. (2167); Chicagoland Miccawave Licenses, Ine, (1575);
Chleagoland Pablishing Company (3237); Cucagniand Tetevision News, frie. (1352): Couront Spteialty Products, Inc. 9221}, Diecet Mail
Associates, Ino. (6121); Distribution Systems of Amerred, ne, (3411); Eagio New Media Inrcti mans, LLC (6641): Eagle Pabtishing
tavesiments, LLC (6327); forgalety ener com com.10.214), PorSmeByCrmor.com Referral Services, LLC (9205), Foetly Haldigigs Campacation
17628) Forum Publishing Group, Ine. (2940), Guid Cons Cublications, Ine. ($505); GroenGo, ine. (7416) Heart & Crowe Adwortiging, fi.
(OMTS1, Homeownom Realty. Ine. (1407), FoMetiond Ppblishuig Co. (4073): Hoy. LLC Gila; Hoy CubWeations, LLC (2982), lawns, Inc,
(283); lnternet Porechinere Sorvice, Inc. (ASM), dealiusAtr Company. LUC (9479), SuliusAl Company il, LLC, KEAH Inc, (4094). KALA, Ine.
(79435, KSWT Ine, (7035): KTTA Inc. O04 KYGN Inc. (5247), Log Angele: Temes Conmunications LLC (1224); Lne Angeles Tones
thremaionl, Ltd. (6079); Los Angsits Timer Newspapers, Inc. (04181, Magic ¥ Mack: Publiciing Company (6522); NRF LLC (83);
Neocodrm, ino, (7208): Now Mars Media Inc, (9553); Newscom Services, Jac (4217); Newspaper Readers Agency, lee, (7335); Neth
Michigan Prodoction Comnamy 154665 Nach Orange Aveta Proporties, nc. (4056), Gak Arook Prodisalfony. Ene. 254403; Oclarida Seniline!
Commumications Mrmpacy (1374; Pacweaa Poblicking Company (4223; Poblishen. Pevest Prodacts Cn. nf Wachiagtim (4750): Sentingl
Comminaications News Verdin, Inc. (2027); Shopand's ic. (7011); Sapns of Disiinetica, fac, 3603): Soothorn Cannecticut Newayurpers, ine.
(145.5%, Stee Commonly Pobtaiung desap, 14.0 (5612); Sxomweb. Ine. (4275¢ Sua-Foniinct Company (2684); The Aniticots Sum
(68K, ‘The Dally Press, Inc 193445, Vite ]Meclford Courset Company (2490); The Moming Call ino €7540), Tha Cleker Cornpany LLC (53371:
Times Mitror Lard and Tieshes Company (7088): Times Mirrar Payro Procossing Company, Jp. [422 1h, Times heror Setvices Company, Inc.
(1326); TMLH 2, Ine 10720); TMES 1, Ine, (8719); TMS Enenainment Gaidas, Inc, (6325); Tower Distnration Company (086), Towering T
Meets Tatlishing Catapany (2470), Tribune Beewdicast Holdings, 10, (4432); Tribane Broadcactiog Crmpaeg' 125455, Tribe Broadening
Malden, ELC (2534): Tribune Benadonsing News Network, lac , wh/n Tribune Washington Bureay bee (1028), riswne Colifornia Properties,
Inc, (1A Trikeing MLE, LLC, fia Chicage Notion League Dell Cluh, LLC (0147), Teibime Dredd Maakesing, fre (1499) THhowe
Cotertaianteat Company (4232); Trihane Enterisenmen Producthon Compsay (5393): Tribue Finwnce. LLC (2537): Tribuse Finance $ervece
Crater. Wc, (78441, Tribeme License, Inc, (1035): Tribune Let Aagtles, Inc, (4522); Tribene Madheatan Newsapec Holdings, las (72795:
Trobinc Media Net, Inc. (7847), Tribert Media Sersices Inc. (11%). Trib uae Network, c (092346y, Tribune New York
Nevnpape! Uahings, LUC (7278); Tribwac NM, Inc 19939}; Triteme Publishing Compemy (97217; Titans Television Company (424), Thbune
Telovis ioe Holdinge, Ine. (163), Titre Telovisinn New Orleans, Ine, (40581; Tribune Televeticin Norihwest, bac. (20°74); Valuial, [ne
(95025, Vagina Community Shopper, LEC (4125); Viqrinia Caretic Companies. LLC (O87) WATL, LEC (7784), WCCT, Inc. Pie WICK
Joe. | 1268), VICWN 15.0 (3982) WCW Brasdexsiing, bas, (2200); WGN Continental Benadcaning Company (9530); WIT inc. 074); sand
I re ane The Socbtors* cotparate lasdquerters and tee mailing: address for each Mehler it 435 Nacth Michigan Avenue, UMeaS,

tor AGE. ,

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of Reorganization for Tribune Company ated ils Subsidiaries proposed hy the Dehtors, the
Official Comumitiee of Unsecured Creditors, Oaktree Capital Management, L.P. Angelo, Gordan
& Co., LP, and JPMorgan Chage Bank, N.A. (the “Debtor/Compnittec/Lender Plan"). which
voles wele originally cast lo reject such plan, to be deemed te be acceptances of such plan, The
partics to thin Stipulati on respectfully state as follows: .

1. On Marcel 3, 2011, the proponents of the Debtor/Committee/t ender Plan hled the.
Proposed Second Amended Jaint Plan of Reorganization for Tribune Company and its
’ Subsidiaries (the “Modified D/C/T, Plan") {D.1. 8259}. The Modified D/CA. Plon,; among other
things inodiftes the trealment ti be afforded to the classes of Geueral Uneeeured Cliinis against
the Dehtors ciher than Tribune Company (ihe "Debior Subsidiaries”) ta remove the £150 million
aggtegaic cap on such clainas that had been contained in the Debtor/Committee/Londer Plan.
See Moditied D/C/. Plan at § 3.3.5(b). with such language allached to this Stipulation as Exhibit
A. |

2. FHC, as tranaferee of various General Unsecured Claims against the Debtor
Subsidiaries, voted all of such General Unsecured Claims to reject the Debtor/Commitiee/
Lender Plan based on the existence of the $150. million aggregate cap on General Unsecured
Claims against the Debtor Subsidiaries.

3. The revisions to the Moditied DIC/L Plan attached hereto as Exhibit A eliminate
the Hasis for FHC's votes to reject the Deblor/Coammitiee*Lender Plan and, as a rasuli, FHC now
supports confirmaticu of the Modified DAC/L Plan and wishes ta change its previous voles bo
reject the Debtor/Commutrec/Lender Plan to reflect that it necepls the Modified D/C/L Plan.

4. Aceardingly, FHC affiematively stoves thal as a resull of the modifications contaiucd

* The FAC signaicry balow fs authorized to aign and Ble this Sipulaiion eenceming thé change of FHC": votes
Tarivan lo Role 301 Ac) of Ute Federa) Rales of Bankrupicy Procedure.

9.

CHIT Stenreey.)
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in the. Modified D/C/L Plan, FHC hereby requests iat the votes on Exhibit B hereto, which are |
votes previously cast by F HC to reject the Debtor/Committes/Lender Pian, each be classified as
voles ta accept the Modified D/C/L Plan. . .

5, The Debtors and FIIC each intend that notice of this Stipulation provide notice of
FHC’s change of their voles respecting the Debtor/Committee/Lender Plan, in acenrdanee with
Rule 301 8(a) of the Federal Rules af Bankruptcy Procedure.”

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BA2-AGT-A ots . Kemnuerh P. Kansa
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-arnd-

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LEONARD, P.A., .
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J. Kate Stickles (No. 2917)
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Wilmington. DE 19801
Telephone: (302) 652-3131

: Counsel! to Debtors and
Debtors-iu-Possessian

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Exhibit A
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. (d)_ Voting: Claims in Class 50D through 111D are Impaired,
aod Holders of Claims in Classes SOD through 111D are conclusively deemed to have
tejected the Plan and are not entitled to vato to accept or reject the Plan.

(a) Classification: Classes 2B through 111E consist of all
General Unsecured Claims against the relevant Filed Subsidiary Debtors. The numerical
portion of the Class designation corresponds to the applicable Debtor number on
ix A hereto.

(&) ‘Treatment; On or ag coon as reasonably practicable after
the applicable Distribution Date, each Holder of an Allowed General Unsecured Claim
against a Filed Subsidiary Debtor shall receive an amount of Cash {paid out of the
Distributable Cash Pool) equal to-the-Jeaser-e£4} 100% of such Holders’ Allowed
General Unsecured Claim Against a Filed Subsidiary

shall not

Litigation Claim, ided, | that P ition jet ail "
accrus or be paid on any General Unsecured Clai i i idi

(c). Voting: Claims in Classes 22 through 1118 are Impaired,
andj Holders of Claims in Classes 2B through 11 LE are entitled to vote to accept or reject
the Plan against the relevant Debtors. ,

3.3.6 Classes 2K through 111K — Infercompany Claims, -

(a} Classification: Classes 2K through 111K consist of all
Intercompany Claims against the relevant Filed Subsidiary Debtors. The numerical
portion of the Clasa designation corresponds to the applicable Debtor number on
Appsadix A hereto.

(b} Treatment: In full satisfaction, settlement, release and
discharge of and in exchange for Intercompany Claims against Filed Subsidiary Debtors,
except as otherwise provided herein, Holders of Intercompany Claims shall receive the
treatment afforded to them in the Intercompany Claima Settlement.

(©) _ Voting: Claims in Classes 2K through 111K are Impaired;
however, as set forth in Section 4.3, votes on the Plan shall not be solicited from Holders
of Claims in Classes 2K through 112K,

3.3.7 Classes 21 through | 111, — Securities Litigation Claims.

(a) Classification: Classes 21 through 1111, consist of ail
Securities Litigation Claims against the relevant Filed Subsidiary Debtors. The
numerical portion of the Class designation corresponds to the applicable Debtor number
on Appendix A hereto.

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Exhibit B
Case 08-13141-BLS Doc 8602-5 Filed 04/07/11 Page 8of8

Exhibit |
TRIBUNE COMPAMY, ¢ al,

Debtar/CommktedLaieder Piss Bedlot Petal for Falr Harbee Capita’, LLC

EAR HARAOR CAMIAL LLC (TRANSPBROR: RETA BRAKES Sy
TAR HARBOR CAMTAL, LLC (TRANSFEROR: INVES TORPLACK MEDIA LLC}
FATRIIARGORCAMTAL, LUC (TRANSPRROR: EMBARKMEDIA)

FATE HARBOR CANT AL, LUC (CTRANSPRROR: SYVEROY LAW GROUP LUC}

PAS HARBOR CAPITAL, LLU { TRANGFEROR: BLUE SKY MARKSTING OROUP LT
PAE HARSOR CAPTAL, LLC (TRANSFETIOR: COMEDIA, COM ING}
FAIR LLARBOR. CAMTAL, LLC (CLANSPELOR: Matt RVC)

FAIL HARROR CATAL, LLC (TRANSTERGR: ACADEMY OF TELEVISION ARTS AS
FAIR TIARBOR CAINTAL, LLC (TRANSFERCH: JOGA EXPOSUS BRD)

FAR HAILDOR CAPTAL, LLC (TRANSPEROR: KABSER AND TILAIR INC)

PATR HAP BOR CAR-TAL, LIZ [TRAHSFAROA: CUSTOMER ACTIVATION FROGEAMS)
PAIR HARDOR CAMTAT, LLC (TRANSPER OR: COPYNET OFFICE SOLUTIONS IAC}
TAIRRARBOR CAPITAL, LLC (TRANSFEROR: MADMLINE INFORMATION BYSTEMS)
PAW HARRO® CAPTAL, LLC CTRANSFEROR: ENYIRONMENTAL RECOVERY SHR VI)
FALE HARBOR CAMTAL, LLC {TRANSFEROR: A CORPORATION FOR ARTS & COM)
FAIR HARBOR CATAL, LLC (TRANSPEROR: COASTAL BUM. ODM] SERVICER)
FAR HARBOR CAMTAL, LLG TRANAFEROR: STEVE BRODNER SLUSTRATIONS)
TATRHARROR CAMTAL, LUC CTRANSFEROR: CASED INC)

FATRHARAOR CAMTAL, LLE (TRANSFEROR: TELESOFT COA

FAIRHARBOR CAPITAL, LLC CTRANSFEROR: QUESTUS INC)

FAIR TLARDOR CAPITAL LL.C(TRANSTEROR: CITY OF DRERFD ABACH)
PALRHARAROR CAMTAL, LLE (TRANSPERDAL, PEM A CARE}

PARLHARBOR CARITAL, LLO CTRANSREROR: CONSOLIDATED LAREL CO)

FAIR HARBOR CAPMTAL. LLG TRANSFER OR: NOCHATIS ORE DIC)

FAR HARBOR CAMTAL, LLC STRANSTEROR: GORDON HARGRCYE & JAMES PA}
FAIR UAROOR CAPITAL, LLE {TRANSFEROR: BEAL INDUSTRIAL PLODUCTS)
PAIR HARROR CAPT AL, LLG (TRANSFEROR: Ow. CORPORATAIN)

FAIR HARBOR CAPC AL LLC (TRANSFOROR: OFFIT KURMAN, FA)

FAIR DARSOR CARPAL, 11.0 (PRAM CROR. OATOMMAN GROUP LTD

FAIR HARBOR CAPITAL, LLC (TRANGFRROR: HISCD PLEMP INC)

FAR HARDOR CAPI“AL, LLC (TRAMSFEROR: CONNECTICUT LIGHT & POWER)
FATR HARGOR CAPTIAL, LIC (TRARSFEROS: }OVING PICTURES VIDEO INC}
FARR IARBOR. CAMTAL, LLC CTRANS PRROR: BIOGOMAN CROUPL TO)

FAR HARBOR CAPITAL, ULC (IMANOITIROK. recreaken FAM

FAIR WARROR CAPITAL, LUC (TRANGFEROR: AM CENTER, INT.)

FAIR HARBOR CAMTTAL LUC CTRANSFEAOR: tit UTILITIES INC)

FAm HARNOR CAMTAL, LLC{TRARSFEROR: VIAMEDIA LL)

PATR HARBOR CAPTIAL, LLC TRANSFEROR: GBR. SYSTEMS CORF)

FAQ HARBOR CAPITAL, LUC (TRANSCEBOR: SBAVE, AVA LYN}

PAIR FARBOR CAMTAL, LLC TRANBFERCE: SOUTHERN ADVERITIING) .

FAIR HARBOR CAPITAL, LLC(TRANSFEROR: BEASLEY Fit ACT}UISITION CORP:
FAIR PARBOR CAMTAL, LLC (TRANRPBROR: MEDIA DATA SERVICES INT)

FAIR L-AGBOR CAPITAL, LLCITRANSFEROR: VENTING NURSE & HEALTH)

FATA IARBOR CARTAL, LUC (1 RAMSFERUS; RELLY GENBLATOR & SQLIPMENT)
FAIR HARBOR CAMTAL, LLC (TRANSFOROR: BUCKMAN GROUP LTD)

PAIR HARBOR CAPITAL, LLC (TRANSERROR: OFA INTERNATIONAL INC)

FAIR HARBOR CAMTAL, LLC CRANSFEROR: NOGPAR CORPORATION)

FAIR MARROR CAMTAL, LIZ: (TRANSFEROR; PRIMA VISIBILITY LLC)

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